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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


THE AMERICAN HOSPITAL
ASSOCIATION, et al.,

               Plaintiffs,

      v.                                               Civil Action No. 1:19-cv-03619 (CJN)

ALEX M. AZAR II, Secretary of Health and
Human Services,

               Defendant.


                                              ORDER

       Upon consideration of the Parties’ Joint Motion for Order Setting Deadline for Defendant

to Respond to Plaintiff’s Motion for Summary Judgment and for Scheduling Order, ECF No. 15,

it is hereby ORDERED that the motion is GRANTED and that this case will proceed according

to the following schedule:

       1.       On or before February 4, 2020, Defendant shall file his Opposition to Plaintiffs’

                Motion for Summary Judgment and any Cross-Motion for Summary Judgment.

       2.       On or before that same date, Defendant shall certify and produce the

                administrative record and file with the Court a certified list of the contents of the

                administrative record.

       3.       On or before February 18, 2020, Plaintiffs shall file their Opposition to

                Defendant’s Cross-Motion and their Reply in Support of their Motion for

                Summary Judgment.

       4.       On or before March 10, 2020, Defendant shall file his Reply in Support of his

                Cross-Motion for Summary Judgment.

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      5.       The Parties shall file a Joint Appendix containing the portions of the

               administrative record relied on by either party within the time period required by

               the Local Rules.

      6.       The deadline for Defendant to file an Answer shall be suspended pending the

               Court’s resolution of the Parties’ Cross-Motions for Summary Judgment.



DATE: December 18, 2019
                                                             CARL J. NICHOLS
                                                             United States District Judge




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